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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION




 United States of America               )             CASE NO. 4:01CR166
                                        )
            Plaintiff(s)                )
                                        )             Judge David D. Dowd, Jr.
                                        )
            - vs -                      )
                                        )             ORDER
 Dajuan M. Wills                        )
                                        )
            Defendant(s)                )




            A hearing was conducted on November 15, 2005, regarding a petition filed

 by the U.S. Probation Office regarding violations of the defendant of the terms and

 conditions of supervised release. The defendant Dajuan M. Wills and his counsel,

 Dennis Terez appeared. A report and recommendation was filed on November 2, 2005.

 The Court adopts the report and recommendation of Magistrate Judge James S. Gallas

 and finds the defendant in violation of his terms and conditions of supervised release as

 stated in the Violation Report.

     IT IS ORDERED that the defendant be committed to the custody of the Bureau of

 Prisons for imprisonment for a period of Four (4) Months and upon release from

 confinement the defendant’s period of supervised release will terminate.




 November 16, 2005                             s/David D. Dowd, Jr.
    Date                                       DAVID D. DOWD, JR.
                                               U. S. DISTRICT JUDGE
